        Case 3:14-cr-00081-JAM               Document 748           Filed 05/07/15         Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA,

            v.
                                                                     No. 3:14-cr-00081-6 (JAM)
 TYSHAWN MCDADE,
      Defendant.

            RULING DENYING MOTION OF DEFENDANT TYSHAWN MCDADE
                    TO SUPPRESS TITLE III WIRETAP EVIDENCE

        Defendant Tyshawn McDade has filed a motion to suppress the contents of intercepted

cell phone calls that the government obtained pursuant to a wiretap warrant issued by Judge

Arterton on December 13, 2013. Defendant argues that the government’s application for the

wiretap warrant did not adequately show that a wiretap was necessary in light of alternative

investigative methods. Magistrate Judge Fitzsimmons rejected this argument, concluding that

“[t]he applications and their supporting affidavits were more than ‘minimally adequate’ to

support Judge Arterton’s determination that electronic surveillance would be necessary and that

normal investigative procedures had been tried and had failed, reasonably appeared to be

unlikely to succeed, or were too dangerous to employ.” Doc. #526 at 10.

        Defendant has now filed an objection to that portion of Judge Fitzsimmons’ ruling. 1 He

does not challenge Judge Fitzsimmons’ factual findings, nor does he point to any error by Judge

Fitzsimmons in her conclusions of law. I interpret defendant’s objection to be to Judge

Fitzsimmons’ application of the law to the facts as set forth in the wiretap application in this

case, and my review is de novo as to Judge Fitzsimmons’ application of the law to the facts here.

See, e.g., United States v. Rosa, 11 F.3d 315, 328 (2d Cir. 1993).


        1
           Defendant does not otherwise challenge Judge Fitzsimmons’ ruling insofar as it dismissed other grounds
raised for suppression (Doc. #526 at 7–10) or denied an evidentiary hearing, and therefore I adopt her recommended
ruling as to each of these non-contested grounds.

                                                        1
       Case 3:14-cr-00081-JAM             Document 748        Filed 05/07/15      Page 2 of 4




          That said, defendant ultimately seeks review of the determination of Judge Arterton to

approve the wiretap warrant in this case. In this context, a reviewing court must “grant

considerable deference to the district court’s decision whether to allow a wiretap, ensuring only

that ‘the facts set forth in the application were minimally adequate to support the determination

that was made.’” United States v. Concepcion, 579 F.3d 214, 217 (2d Cir. 2009) (quoting United

States v. Miller, 116 F.3d 641, 663 (2d Cir. 1997)).

          The federal wiretap statute (Title III of the Omnibus Crime Control and Safe Streets Act

of 1968, 18 U.S.C. § 2510 et seq.) governs the procedure for the government to obtain judicial

authorization to intercept electronic communications of those suspected of engaging in certain

crimes. Because wiretapping is an obvious intrusion on individual privacy, the wiretap statute

requires—among other protections—that a wiretap application be granted only if a judge finds

that “normal investigative procedures have been tried and have failed or reasonably appear to be

unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(3)(c).

          This requirement is ordinarily referred to as the “necessity” requirement. It reflects

Congress’s intent “that wiretapping is not resorted to in situations where traditional investigative

techniques would suffice to expose the crime.” United States v. Kahn, 415 U.S. 143, 153 n.12

(1974). Still, however, “the Government is not required to exhaust all conceivable investigative

techniques before resorting to electronic surveillance.” Concepcion, 579 F.3d at 218. The

necessity requirement “‘only requires that the agents inform the authorizing judicial officer of

the nature and progress of the investigation and of the difficulties inherent in the use of normal

law enforcement methods.’” Ibid. (quoting United States v. Diaz, 176 F.3d 52, 111 (2d Cir.

1999)).

          Moreover, necessity depends on context. The government’s resort to a wiretap is more



                                                    2
       Case 3:14-cr-00081-JAM          Document 748         Filed 05/07/15      Page 3 of 4




likely appropriate “in complex and sprawling criminal cases involving large conspiracies” that

are less susceptible than run-of-the-mill criminal cases to detection by means of traditional

investigative methods. Ibid.

       The wiretap application in this case—a sprawling drug conspiracy involving more than

two dozen defendants who have been charged in the pending indictment—easily satisfies the

necessity requirement. Over the course of 18 pages in the wiretap application, the FBI affiant

attested to law enforcement’s use of numerous alternative investigative methods that had met

with varying degrees of success and that had yet to disclose the full scope of the conspiracy, its

sources of narcotics supply, the identities of additional principal members of the conspiracy, the

stash locations for narcotics, and the flow of narcotics proceeds. The wiretap affidavit describes

at length the use of alternative investigative methods (and details reasons for declining to use

certain methods), including cooperating witnesses and confidential sources, undercover law

enforcement officers, physical surveillance, pen registers and telephone toll records, grand jury

subpoenas, search warrants, garbage seizures, fixed surveillance cameras, tracking devices, and

monitoring of prison phone calls.

       Notably, defendant does not dispute that the government used alternative investigative

methods. Instead, he contends that these methods were so successful that a covert wiretap was

not needed. Doc. #584-1 at 2. First, he points to the fact that the government discovered that two

of the principal co-conspirators purportedly boasted of their drug-dealing activity on a rap video

posted to YouTube, and he contends that “the video clearly reflects a policy of openness” by the

conspirators that is “highly unusual.” Id. at 3-4. But the video at issue was not made until the

month after the application for the wiretap in this case, and therefore anything about this video is

irrelevant to whether the necessity requirement was established at the time of the government’s



                                                 3
       Case 3:14-cr-00081-JAM           Document 748       Filed 05/07/15      Page 4 of 4




application for the warrant in this case.

       Similarly, defendant argues that the co-conspirators were operating “in the open” because

“[o]n one occasion, police surveillance saw . . . an individual with a bag with a white substance

in plain view.” Doc. #584-1 at 3. This single occasion fails to show that law enforcement could

have exposed and gathered necessary evidence of the entire conspiracy by traditional

investigative means. Nor am I persuaded by defendant’s argument (id. at 4-5) that any necessity

was negated by the fact that law enforcement had successfully acquired information about

narcotics activities at a single location (Randy’s convenience store in Hartford). Indeed, “the

mere attainment of some degree of success during law enforcement’s use of traditional

investigative methods does not alone serve to extinguish the need for a wiretap.” United States v.

Bennett, 219 F.3d 1117, 1122 (9th Cir. 2000).

       In short, I conclude that the government’s wiretap application amply established a basis

for Judge Arterton to conclude that a wiretap was necessary to advance the investigation in this

case. Because the facts set forth by the government were minimally adequate to support the

necessity for a wiretap warrant, I deny defendant’s motion to suppress.

                                              CONCLUSION

       I adopt Judge Fitzsimmons’ Recommended Ruling (Doc. #526) to the extent that it

addresses defendant’s motion to suppress (Doc. #422), and defendant’s motion to suppress (Doc.

#422) is DENIED.

       It is so ordered.

       Dated at Bridgeport this 7th day of May 2015.


                                                     /s/ Jeffrey Alker Meyer
                                                     Jeffrey Alker Meyer
                                                     United States District Judge

                                                 4
